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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                             :   CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC                :       BANKRUPTCY NO. 22-10609(AMC)

                        Debtor       :
____________________________________ •

                                              ORDER

         AND NOW, upon consideration of the Motion of Debtor for Entry of an Order

Authorizing the (I) Rejection of a Non-Residential Real Property Lease Pursuant to 11 U.S.C. §

365 and Fed. R. Bankr. P. 6006 and (II) Abandonment of Personal Property Pursuant to 11

U.S.C. § 554(a) and Fed. R. Bankr. P. 6007(a) (the “Motion”), and after notice to parties in

interest and a hearing; it is hereby ORDERED that:

         1.            The Motion is GRANTED.

         2.    The Lease Agreement by and between Delaware River Port Authority of

Pennsylvania and New Jersey, as Landlord, and Scungio Borst & Associates, LLC, as Tenant,

dated October 24, 2005, as amended, for the premises located at One Port Center, 2 Riverside

Drive, Suites 500 and 506, Camden, NJ 08103 (the “Premises”) is hereby REJECTED effective

as of the date of the filing of the Motion.

         3.    All personal property located at the Premises is hereby ABANDONED by the

Debtor effective as of the date of the filing of the Motion.


                                              BY THE COURT:


Dated:_________                               ___________________________________
                                              ASHELY M. CHAN,
                                              UNITED STATES BANKRUPTCY JUDGE
